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              EXHIBIT 6
     (Republic Policy No. CDE 750)
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                                          ¯ ~A~,RATION8 -- SPECIAL COVERAGE POLIC~z"
                                          ,~                                                                   STOCK COMPANY        .~.
    61 [ 0.250 :
                                                                                                                               ,"     {
                                   []      REPUBLIC INSURANCE COMPANY
                                   []      VANGUARD INSURANCE COMPANY
                               2727 TURTLE CREEK BOUEEVARD, DALLAS, TEXAS 75219




        Item 1.   Policy Pedod: From

                                        12:01 A,M., S~ndard Time at the address of ~e named Insured as s~d herein.

        Item 2-   Premium:              Advance Premium:
                                        Rate:

                                    Minimum Premium:
                  If the Policy Period is more than one year and ~he premiere
                  payable

                  Effective Date                            I~ A~nive~aw                          2nd An~iver~w




        Item 3. Coverage:




        Item 4.   Limits0f Liability: The limit of the Company’s liability shall be as stated herein, subject to all the
                  terms of this policy having reference ~hereto.




        Item 5.   Duri~g the past three years no insurer has cancelled i~urance issued to the named insured, similar to




                                                   Countersigned by      "
                                                                                                          .1
                                                                                           ~.uthor~z.:~




SUBJEC      APRIL2(
  BJEC~II~ APRIL  2009                                                                                          REr- uuuuu~
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                                       (A Stock Insurance Company, Herein Called the. Cor~p~ny).



                                                        EXCES£ UMBRELLA POLICY
                                                           INSURING AGREEMENTS
     t. COVERAGE
       ~he Company hereby agrees, subject to the limitations, terms end conditions hereinafter ma~tl6ned, to indemnify th~ Insured for all



        (a) Personal Injuries, J~cfudfng death at anv time result(ng therefrom,
        (b) Property Damage,                                                            .,
        (c) Adve~islng L~abillty,
     ~used bv or arising o~t of each occurrence happening anywhere ~n the,wet)d, and arfsi~ o~ o~e hands c~ered by and as ~ef~ned in
     the Underlying Umbrella Policies stated below andissued by the "Under(y~ng Umbrella



                                    UNDERLYING UMBRELLA INSURERS AND POLICY tNUMBER;




     2. LIMIT OF LIABILITY -- UNDERLYING LIMITS
        It [s expressly agreed that liability shall attach to the Company only after the Underly~n~j U~mbrell~ Insurers have pai6 or have beer~
     held I~abla to pay the full amount of their r~pe~Jve uRimate net ~o~ liabU]ty as follows:
        (a} $150 ~ 000 ~ 000.00            u[t~mate net loss in respect of each occurrence, but.


        (b}$i50,000,0(]0 tOO               in the aggregate for each annual peri}3d during the currer~cy of t~[s Policy separately ia r~ of
                                           ProduCe Liability and s~paratel7 ~ resp~ of Persona~ ~ry (fata.] or no.-fatal) b~ O~u~atio~a~



       (c)$6~ 600~000.00                   utti~te nat loss in all respect of ea~ oc~rren~ --subje~ to a [imk ef
     P/O $100,OOO,OOO.O0


     ~/0 $IO0~ODO~O00.O0                   Products Liab~]itV a~ separately in respe~ of Personal ~UFy (~atai or non-feral) b70ccuga~ional



                                                                   DEFINITIONS

     1. NAMED INSURED;
        The words "Named insured" includes The Named Insured Stated in 3"he Declarations ~orming a part hereof arC/or subsidiary,
     associated, affiliated companies or owned and centre]led companies as new e~hereafter const{~ted and of wh{ch prompt notice has been
     given to the Compeoy,

     2. INSURED=
        The word "qn~ured" inctudes The Named Insured and~or any Officer, Director, ~tockhol#er. P~rtner or Employee. of The ~Named ,




SUBJEC~L 2009 ......................                               : ................              ~ .............                           .!
                                                                                                                         REP- 000009
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                                                                 ¯ CONDITION~.



  1. PRIOR INSURANCE AND NON CUMULATION OF LIA-                           Policies shs~l be maihtainad in full effect during the currency
     BILITY --                                                            hereof except for any reduction of the aggregate I[mlts contain~
                                                                          therein solely by payment of c~aims in respe~ of accidents
     It is agreed that if any loss covered hereunder is also covered
                                                                          and/or occurrence o¢currihg d~ring.the per{od of this Potfcy or
                                                                          by [~e operation of Condition¯ ~ the UndeHyin~ U~br~lta Po~i-
  hereon as stated in Insuring Agreements’ 2c and 2d shall ba
                                                                          3. NOTICE. OF OCO~RRENCE --


    Subject to the foregoing paragraph and to air the other terms
  and "conditions Of this Policy in the event that personal injury or

  is continuing at the time of termination of this Policy the Com-
  pany will continue to protec~ the Insured for liability in respect
  of such personal injury or property damage without payment of-          P. O. Box 1660~ H~u~to~, T~a~ 770~1 as sedn as p~a~t}~ble,




   CONFI~IAL
SUBJE~O APRIL 2~09
                                                                                                              REP- 0000~0
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            It is agreed that except only with ~espect to policy per~odr
            premium and limits of liability, this’ policy is hereby amended to
            follow all the terms, conditions, definitions and exclusions of
            the first layer umbrella policy, (LONDON AND VARIOUS B~ITYS~)
            KY017582 and all renewals and replacements thereof.          It is
            further agreed that all pro-printed~ terms and conditions hereon¯
            are deleted to the extent that they vary from or are inconsistent
            with the terms an~ conditions of the first layer umbrella.




            Nothing herein contained shall very, alter, waive or extend &ny
            of    the   termsr ¯ representations, declarations,  exclusions,
            conditions or agreements of the Policy other than as above
            stated.

            The information below is required only when this endorsement is
            issued subsequent to preparation of the policy.

             To ’be attached to and forming part of ~licy No.

             Issued to

             Endorsement No.

             Effective                              19


             ~EV. (06/83)
                                               By
¯   CONFIo~mm’Au ..........                                ’- .........   ."
¯ SUBJEC~APRIL 2009
                              ..............                                         , ........   _
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                                                                                                                   STOCK COMPANY
               [] REPUBLIC INSURANCE COMPANY
               [] VANGUARD INSURANCE COMPANY
                                                                                                Member Of
                                                                                    REPUBLIC iNSURANCE COMPANY GROUP
                                                                                            A CAPITAL STOCK COMPANY


                                                                                    2727 Turtle Creek Boulevard, Dalt~s, Texas 75219
                                                                                                  EFFECTED THROUGH
                                                                                      CRAVENS, DARGAN & CO,, SPECIAL RISKS
                                                                                       P, O. Box 1660 -- Houston, Texas 77001




         This policy is made and accepted subiect to the provisions and stipulations hereinafter stated, which are hereby made a pert of
      this policy, together with such other provisions, stipulations and agreements as may be added hereto, as provided in this policy,




                                                                                                                    ~-000001
.... ~ -- : .... ~~~;~
                                                                       --~-~ ....................
                   ........................ _ ...................................................
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 Agrees with the insured, named in the declarations made a part hereof, in consideration of the payment of the premium and In
 reliance upon the statements in the declarations and subject to the limits of liability, exclusions, conditions and other terms of
 the polioy:
 The Insuring Agreements and any Special Provisions are contained in the separate Coverage Form or Forms issued to com-
  lete this policy.
                                                            CONDITIONS




                                         ¯                                                                      REP-000002
S~~09~
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                        NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
                                       (BROAD FORM)




                                WAR RISK EXCLUSION ENDORSEMENT




   CONFI])~

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